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        Attorneys for Plaintiffs

   14
                          IN THE UNITED STATES DISTRICT COURT
   15                          FOR THE DISTRICT OF HAWAI‘I
   16                               Case No. CV 11-00538 DKW-BMK
        LIANE WILSON, and
   17   JOANNA WHEELER ON BEHALF OF
   18
        THEMSELVES

   19                              Plaintiffs,
   20   v.
                                                   JOINT STIPULATION AND
   21                                              ORDER FOR EXTENSION OF
        WYNDHAM WORLDWIDE                          COURT DEADLINES
   22   CORPORATION, WYNDHAM
        VACATION OWNERSHIP, INC.,
   23
        WYNDHAM VACATION RESORTS,
   24   INC.,
   25
        MICHAEL JONAH, MARK
   26   POLLARD, TOM VIRAG, DOE I
   27   through X, and ROE BUSINESS
        ENTITIES I through X, inclusive,
   28

                                   Defendants.

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    3         Pursuant to Federal Rule of Civil Procedure 26, Plaintiffs Liane Wilson and
    4   Joanna Wheeler and Defendants Wyndham Worldwide Corporation, Wyndham
    5   Vacation Ownership, Inc., Wyndham Vacation Resorts, Inc., Michael Jonah, Mark
    6   Pollard, Tom Virag, acting through their respective counsel of record, hereby
    7   stipulate and agree, subject to the approval of Court, that the Court’s Order to
    8   Amend Order Staying Discovery And All Other Court Deadlines to June 7, 2013,
    9
        dated May 10, 2013 (Dkt. No. 75) be amended as follows:
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   11
              1) The parties have finalized Plaintiff Joanna Wheeler’s settlement
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                 agreement.    A stipulation of dismissal with prejudice is being filed
   13
                 concurrently herewith.
   14
              2) Richard Yanagi, the trustee in Plaintiff Liane Wilson’s bankruptcy
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                 matter, Case No. 1-11-BK-01392, will be filing a motion to approve
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                 settlement of her claims in the bankruptcy court. Accordingly, the parties

   18            stipulate to stay this matter in this Court pending approval of the

   19            settlement agreement in the bankruptcy court.
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        DEADLINES
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    3   Dated: June 7, 2013                          By: /s/Carl M. Varady, Esq.______
                                                     LAW OFFICE OF CARL M.
    4   Respectfully Submitted,                      VARADY
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   13   Worldwide Corporation, Wyndham               Liane Wilson and Joanna Wheeler
   14   Vacation Ownership, Inc., Wyndham
        Vacation Resorts, Inc., Michael
   15   Jonah, and Tom Virag
   16
              /s/ Wesley M. Fujimoto
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   18         Ashford & Wriston
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   20         Honolulu, Hi 96813
   21   Attorney for Defendant Mark Pollard
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        APPROVED AND SO ORDERED:
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    8   Dated: Honolulu, Hawaii, June 10, 2013.
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   11
   12                                           /S/ Barry M. Kurren
                                               Barry M. Kurren
   13                                          United States Magistrate Judge
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        DEADLINES
